Case 1:21-cv-00790-JMB-SJB ECFNo.1, PagelD.1 Filed 09/10/21 Page PED GR
September 10, 2021 12:46 PM

 

CLERK OF COURT
UNITED STATES DISTRICT COURT WESTERN DISTRICT Of gy
or THE WESTERN DISTRICT OF MICHIGAN seein eae nae
Phillip Tecner 17127
r 1:21-cv-790

 

Sally J. Berens
U.S. Magistrate Judge

 

(Enter above the full names of all plaintiffs, including prisoner number, in this action.)

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Q Herds washingten (5) Dante | Mi lec (B)mmicnael Uy lkiason
3 Sheers Gut (6) Conlzon weed fca\ Serylces 4) WS: Anderson

(Enter above the full name of the defendant or defendants in this action.) C Ist name unk ou )

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COMPLAINT
L Previous Lawsuits

CAUTION: The Prison Litigation Reform Act has resulted in substantial changes in the ability of incarcerated
individuals to initiate lawsuits in this and other federal courts without prepayment of the civil action filing fee.
Accurate and complete responses are required concerning your litigation history. Generally, a plaintiff's failure
to accurately and completely answer the questions set forth below will result in denial of the privilege of
proceeding in forma pauperis and require you to pay the entire $400.00 filing fee regardless of whether your
complaint is dismissed.

A, Have you ever filed a lawsuit while incarcerated or detained in any prison or jail facility? YesO Noy

B. If your answer to question A was yes, for each lawsuit you have filed you must answer questions | through 5 below.
Attach additional sheets as necessary to answer questions | through 5 below with regard to each lawsuit.

1. Identify the court in which the lawsuit was filed. If it was a state court, identify the county in which the suit was
filed. If the lawsuit was filed in federal court, identify the district within which the lawsuit was filed.

2. Is the action still pending? YesO NoO

a. If your answer was no, state precisely how the action was resolved: Ni | A

--

 

3. Did you appeal the decision? YesO No
4. Is the appeal still pending? YesO NoO
a. Ifnot pending, what was the decision on appeal? N | A

tT

 

5. Was the previous lawsuit based upon the same or simjlar facts asserted in this lawsuit? YesQ NoO

If so, explain: N A

 

 

II. Place of Present Confinement

 

If the place of present confinement is not the place you were confined when the occurrence that is subject of instant lawsuit
arose, also list the place you were confined:

recent» G Reber Cotlan Cacrechionsl facility = 3500 North Elm, Rea
eckson michigan ~4920| ‘aiah =
place/ Address > DOO South sheridan Drive EZ muskeqor ym! aigan ~ 494

dohere lausult Atese >

 

 
Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.2 Filed 09/10/21 Page 2 of 21

Ill. Parties
A. Plaintiff(s)

Place your name in the first blank and your present address in th e second blank. Provide the same information for any additional
plaintiffs. Attach extra sheets as necessary.

Name of Plaintiff Phillip Tucner tt 71137
Address 3500 Nort, Ely. Roack = Jackson jualcligan sa 4920}

B. Defendant(s)

Complete the information requested below for each defendant in this action, including whether you are suing each defendant in an
official and/or personal capacity, If there are npre than four defendants, provide the same information for each additional defendant.
Attach extra sheets as necessary.

Name of Defendant #1_Mitchiqan Oepattment of correction § ( 010.)
Position or Title Witowlaan Orkson Sustew

Place of Employment State ot WMI Alan

Address_oYOO South, Sheridan Delve “Wuskegan watciaan - 494942

Official and/or personal capacity? officia Ca pacity v

'
Name of Defendant #2 He { a i WwW eek naton
Position or Title “Wis ,6,C, “ - Director 3 ,
Place of Employment “Yi chi, aan Denal+wenrt or Lol(f ection ‘s
neriden Orly lnfaan —49442
Address 2YOO South Zheriden One —musleegen ; wa(cllaan
Official and/or personal capacity? officls | engl pe (Sora l ‘caps <f ty

 

 

Name of Defendant #3 Sherry Bu ct =

Position or Title Worden muskleaon Cotpechonal freilt Cymnce’)

Place of Employment a Wy ch (a an Nepa Gj trent ot Colter chon ‘

Address_ 2YOQ) South, shertd an On C— Vail keg on, watch (aan —49442
Official and/or personal capacity? offict. a | anc pels ONa | La pre ( J

 

 

Name of Defendant #4 Nacre | MW, Stewa Ci J

Position or Title Dido Walden - mus Kean cote chone | feel kh, (mcl“)

Place of Employment mM lt an Nepaftmecat of conch ons J
Address 2400 South § artdan Drive - wmutkeaen ,valclr ye YR442

Official and/or personal capacity? offic la / 4 acd pels ONG } Capa ef

 

 

Name of Defendant #5 eA le | wi [ ler

Position or Title Acting Ne vuby Warden — nauseaen contech onal Snerl ih, (- : qc”)
Place of Employment Wi an a Depaltweat ot C arre clyon’s 3 |
Address 2Y6Q South ahoctdan Drive. — flat seqon watchs (Gan —- Y9Y4Y 2
Official and/or personal capacity? officta and pet Sona | capacth, J

 

 

 

 

 
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se 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.3 Filed 09/10/21 Page 3 of 21

Defendants Conhaued |

 

Name of Octeadast#e - Corizon Mechica| Serulces

 

 

 

pesition of +H. oe medical Serulces onvider
En eyuacctt ~ musKegon coctechona| freilit,
Address - “C452 gibedive. Drive) Suite \60
Lansing ,michlgen — 494Iy
officta | and lor aa capacity P- oftleta | are persona | capactty

 

 

 

 

 

 

 

nome of Defendant #7 — fale Asche CN Asche")
Qosition oc ttle - meadtca | Qocter

 

 

 

lace * Enpleyweat - Cortzen Medical Services
Address ~ W452 mailleniuus Orive, Sutte 100
Lansing yhalchiqan ~ 48914

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posibten of ttle * Hea HH, Unit Managel ("th UM, =)
Nlece st Enploywent~miché Gen Deputhment of contechian’

 

 

 

Address — 2400 South clhurtdan es mau keaan y mich gan
Yqd4da

 

 

 

 

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se 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.4 Filed 09/10/21 Page 4 of 21

Defendants Conbaued e

 

 

crete AHH = nursing Supervisor

Viawre of Defendant #4 - “MS, Anderson (Cstname unknown presently)

 

' place of Ewgleymeat — ‘mnichtqan Depattmrent of Cocrechon's

 

 

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.5 Filed 09/10/21 Page 5 of 21

IV, Statement of Claim |
State here the facts of your case. Describe how each defendant is personally involved. Include also the names of other persons

involved, dates and places. Do not give any legal arguments or cite any cases or statutes. If you intend to allege a num ber of
related claims, number and set forth each claim in a separate para graph. Use as much space as you need. Atta ch extra sheets if

oF Refer to Atta cheteel Conplai at

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-3- (Last Revised: June 2013)
Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.6 Filed 09/10/21 Page 6 of 21

V. Relief

State briefly and precisely what you want the court to do for you.

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Pb BUT

Date Signature“of Plaintiff

NOTICE TO PLAINTIFF(S)

The failure of a pro se litigant to keep the court apprised of an address change may be considered cause for dismissal.

~4. (Last Revised: June 2013)
Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.7 Filed 09/10/21 Page 7 of 21

COMPLAINT
Pe SEE EL OP PISA, BROS

Inreoouction: THIS COMPLAINT BEING PRESENTED TO THIS HONORABLE
COURT OTRECTLY QUTLINES THE DAMAGES, NEGLECT, INJURY, DEPRIVATION OF
PROPER CARE, SAPBTY, PRECAUTIONS, RESPONSIBILITIES, ACTS, WILLFUL, '
FORCEFUL, AN® WANTON ACTIONS OF THE DEFENDANTS AND THETR JOINTLY, AND
INDIVIDUALLY FATLURE TO ACT, FATLURE TO TAKE STEPS, DELINERATELY
INDIFFERENCE, AND COMPLETE WIOLATES OF TRE PLAINTIFFS CIVIL RIGHTS TO
FULL MEDICAL CARE, TREATMENT, SAFETY, AND ENTITLED CARE WHILE IN TWE
CUSTODY AND JURISDICTION OF THE MICHIGAN DEPARTMENT OF CORRECTIONS, AND.
HAVE FAILED MISERABLY IN EVERY ASPECT OF THEIR DUTIES AS DESCRIBED AND
OUTLINED IN THE COMPLAINT AN® BRINGS TO THIS COURTS ATTENTION THE OTRECT
ACTIONS COMMITTED UPON THE PLAINTIFF &Y THE DEFENDANTS IN THETR
INOTVIDUAL’ ANO JOINTS COMMISSTON WHTLE HAVING THE PLAINTIFFS IW ITS
CUSTODY AND CARE AND TWETR FATLURE TO UPWOLD THEIR OATHS AS CARE~
GTVERS, JATLERS, CUSTOUTANS AND STATE EMPLOVEES UNDER THE MICHIGAN —
DEPARTMENT OF CORRECTIONS ANO TWE CONTRACTED EMPLOVEES OF CORTZON AS
SWEDICAL PROVIDERS CONTRACTED TO WEET AMO FULFILL THE MEDICAL
* REQUIREMENTS AND TREATMENTS OF PRISONERS UNDER THE DEPARTMENT OF
eo TW THE CUSTODY OF CARE OF THE DEPARTWENT OF CORRECTIONS AND
TN ACCORDANCE WITM TWE PLAINTIFFS WATURAL CONSTITUTIONALLY PROTECTED
RIGHTS AS GUARANTEED BY THE STATE AND FEDERAL CONSTITUTION AND AS
PROVIDED MY MICHTGAN COMPILED LAW REQUTRING THE DEFENDANTS NAMED IN THE
COMPLAINT TO CONDUCT THETR SPECIFIC DUTIES AND, HAVING FATLED IN TWETR
CUTIES, DIO DEPRIVE THE PLAINTIFF OF ATS RIOWT TO BE SAFE IN THE
DEPARTMENT OF CORRECTIONS, TO RE PROVIDED FULL MEDICAL CARE IN THE
DEPARTMENT OF CORRECTIONS AND NOT HAVE WIS WEALTH, LIFE, AND SAFETY
ENDANGERED BY THOSE CHARGED WITH HIS CUSTODY AND CARE. |
PLAINTIFF WILL DETAIL IN THE ENTIRETY THE "QOMPLAINT” AGAINST THE
DEFENDANTS BY COMPILING TT JOINTLY AND SEVERALLY FOR THE COURT IN THE
"INTEREST OF JUDICTAL ECONOMY" AND IN ACCORDANCE WITH ENSURTNG THE
PLAINTIFFS COMPLAINT IS BROUGHT TO THIS COURT AND TO SHOW THE CouRT THAT

THERE IS A GEMUTME ISSUE OF DISPUTE FoR TRIAL IW THIS COURT.”
PLAINOIFFS DEMAND FOR A JURY TRIAL:

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.8 Filed 09/10/21 Page 8 of 21

PLAINTIFF HEREBY DENANOS A JURY TRIAL BECAUSE TWE ISSUES SHOULD 3
PECIDED BY A JURY AS ALLOWED BY THE LAWS OF THE STATE OF MICHIGAN AND IN’
THE INTEREST OF ENSURING THAT THE CLATMS RATSED BY THE PLAENTIEF IN THE
COMPLAINT ARE IN FACT PRESENTED TO A JURY FOR FULL REVIEW AND FAIR
DECISION-MAKING. OR, IN THE ALTERNATIVE, TF IT WERE TO PLEASE TWE COURT,
THE PLAINTIFF WOULD ASK FOR A RENCH TRIAL TO SE PRESERVED BEFORE THE
COURT ON THE ISSUES AND SUBJECT TO ANY CHANGES IN THE COMING PROCEEDINGS |
FOLLOWING THIS. COMPLAINT FILING.

NOTICE REGARDING EXHAUSTIONS OF ADMINISTRATIVE REMEDIES; :
PLAINTIFF STATES TWAT ALL AVAILABLE REMEDIES WAVE BEEN CONDUCTED AND
EXHAUSTED TO RESOLVE THE DISPUTES WITHIN THE MICHIGAN DEPARTMENT OF 2
CORRECTIONS AND TWROWOM WEALTH SERVICES AND IT’S PROVIDER CORTION, AND
ALL ATT@HPTS TO RESOLVE TWESE ISSUES AND CLAIMS HAVE BEEM FUTILE Ty |
EVERY SINGLE WAY AS TWAT THE DEFENDANTS WAVE COMPLETELY FAILED TO”
RESOLVE THE ISSUES BY TAKING CORRECTIVE ACTION AND BY GIVING THE
PLAINTIFF WHAT WE IS ENTITLED TO BY STATE AND FEDERAL LAW, POLICY
DIRECTIVE, AND BY TWE STATE AND FEDERAL CowsTITUTTONS, AND, AS 8 RESULT,
EXHAUSTION WAS BEEN COMPLETED BY THE PLAINTIFF WwITw NO, FEASTBLE ©
RESOLUTTON OR ACCORD BETNG REACHED BETWEEN ANV PARTIES, TWEREFUKE,
EXHAUSTION IS WOT AN ISSUE FOR THE PLATNTTFF ITN ANYWAY RECAUSE
EXNAUSFION WAS BEEN METED Our, ' wh

 

PLATMTIFES SUBSTANTIVE ALLEGATIONS AGATWST DEFENDANTS,

PLAINTIFF CHARGES THE NAMED DEFENDANTS INDTVTOWALLY AND JOINTLY TO
KNOWINGLY, INTENTIONALLY, DELIGERATELY, WILLPULLY, ETNER THROUGH TNETR
OWN INDIVIDUAL OFFICE, WORK TITLE, PRIVATE SECTOR JOB CONTRACTED THROUGH
THE. DEPARTMENT OF CORRECTIONS AS MEDICAL PROFESSTOWALS CHARGED WIT |
PROVIDING CARE TO TNE PLAINTIFF, ATOEO AND AGETTED THE DEFENDANT'S |
JOTNTLY OR INOIVTOUALLY TO COMMIT THE BELOW CHARGED OFFENSE AND/OR .
OFFENSES AS DETATLED WERETN.

 

Setiein ‘eiceiiad sien DEFENDANTS DID, CONTRARY TO THE PLAINTIFFS STATE
ANO FEDERAL CIVEL RIGHTS. CONTRARY TO STATE AND FEDERAL LAW, CONTRARY TO
THE POLICIES AN? PROCEDURES OF THE MICHIGAN DEPARTMENT OF @ ONS
AND DID INTENTIONALLY, WILLTNOLY AND CONTRARY TO POLICY ADIRECTIVES

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.9 Filed 09/10/21 Page 9 of 21

05,046.00 EFFECTIVE 1-1-2018 AND UPDATED AND ACCEPTED AGAIN ON APRTL 15,
2020 AND IN VIOLATING THE POLICY DIRECTIVE OUTLINED ON MULTTPLE MULTIPLE
OCCASIONS AND INSTANCES, IT PLACED THE SAFETY AND WEALTH OF THE

PLAINTIFF IN JEOPARDY CONTRARY TO THE LAWS TWAT GOVERN AND AUTHORIZE

SAID PD 08.04.100 RESULTING TN PREVENTABLE INJURY, WHICH BECAME
PERMANENT INJURIES PLACED UPON TWE PLAINTIFF GY THE DEFENDANTS ACTIONS.

TWE DEFENDANTS OTD KNOWINGLY, JOINTLY, AND/OR INDIVIDUALLY
VIOLATE THE PLAINTIFFS CIVTL CIVIL RIGHTS CONTRARY TO THE 8TH AMENOMENT
WHERE IT FAILED TO UPMOLO THE CONSTITUTTONALITY OF THE STH ANENDMENTS
PROHIBITION AND BAN ON CRUEL AND UNUSUAL PUNISHMENT BY THEYR INTENTIONAL
DEPRIVATION OF APPLYTNG THE STANDARDS OF TWE STH AMENDMENT TO TWETR
DUTIES, JOBS AND EXERCISING AND DISCHARGE OF THETR DUTTES COMPLETELY,
WHOLLY ANO GFFECTIVELY AS GUARANTEED BY THE STATE AND FEDERAL
CONSTITUTIONS.

THE DEFENDANTS DIO KNOWINGLY, INTENTIONALLY, AND AS A WHOLE

CONSPIRE TO, OR WILLFULLY NEGLECT TO UPHOLD THE STANDARDS AND LAWS
AGAINST THE FIRST AMENDMENTS PROHIBITION OF RETALIATION AGAINST THE
PLAINTIFE BY INTERFERING WITW THE PLAINTIFFS HEALTH CARE KITES, GETTING
GRIEVANCES OENTED SO THAT THE PLAINTIFF COULD NOT GET RESOLUTIONS TWAT
WERE REQUIRED BY POLICY, THE FIRST AWENDMENT AND OPERATING PROCEDURES
ANO INTENTIONALLY ALLOWING DEFENDANTS THAT ARE INVOLVED WITH THE INNER
WORKINGS. OF THE MEDICAL CARE PROCESS DEPRIVE THE PLAINTIFF OF NTS
RIGHTFUL ACCESS TO SAFE AWD WEALTWY LIVING CONDITIONS AND MEDICAL CARE
GF SAYO INJURTES ITSELF ANO FOR THE SOLE PURPOSE OF SAVING MONEY AND

SEING DELTGERATELY INGIFFERENT TO THE PLAINTIFFS MEDICAL NEEDS AS

REQUIRED BY STATE, FEDERAL LAW AND MOST IMPORTANTLY, TNE STATE AND
FEDERAL CONSTITUTIONS OF THE STH AMENDMENT.
THIS CONCLUDES THE PLAINTIFFS OPENING STATE.

SUMAIARY AND ARGUNENTS

GE PLAINTIFF PHILLTP RICHARD TURNER
AGAINST ALL NAMED DEFENDANTS AS A WHOLE

THE MICHIGAN DEPPARTMENT DEPARTMENT OF CORRECTIONS [NDOC) HAS
AN OBLIGATION TO MAINTATN A SAFE LIVING ENUVTRONMENT, FREE FROM HARM.
ASSURING ANY AND ALL PRISONERS ARE KEPT SAFE AND NOT FORCED TO PUT THEIR
LIVES AT OR HEALTH AT RISK OR IN JEOPARDY. — I

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.10 Filed 09/10/21 Page 10 of 21

THE MUSKEGON CORRECTIONAL FACILITY (MCF) AND THE MODOC HAVE
PLACED PRISONERS {AND THIS PLAINTIFF SPECTFICALLY) LIVES AND HEALTH IW
JEOPARDY BY FORCING THEM TO ASCEND ONTO THE "TOP BUN” OR EACH CELL IN
AN UNSAFE AND DANGEROUS MANNER.

PRISONERS ARE FORCED TO STEP ONTO A WOBBLY PLASTIC CHAIR,
THEN UP ONTO AN OLD UN-SECURE DESK THAT MOVES WWEN YoU STEP ON IT,
PROCEEDING WITH CLIMBING ONTO THE TOP BLINK,

THE PLASTIC CWATRS AND DESK ARE NOT SECURED OR ANCHORED TO
THE WALL, ALLOWING THEM TO MOVE ANO WOGBLE WITH THE POTENTIAL TO TOPPLE
OVER. THERE ARE NOT WEANT-OR DESIGNED TO STAND ON, BE STOOD ON, OR
STEPPED ON OR USED TO CLINE TO THE TOP BUNK, WHICH WE ARE BEING FORCED:
TO 00 PLACING PRISONERS LIVES AND HEALTH IN JEOPARDY. MUSKEGON
CORRECTIONAL FACILITY WAS DESIGNED FOR 1 PRISONER TO A CELL. A TOP BUNK
WAS ADOED AND A SECOND PRISONERS WAS PLACED INTO THE ‘SPECIFICALLY
DESTGNED | MAN CELL, ;

THERE WERE MANY ATTEMPTS TO GET MCF TO PUT LADDERS ON THE

BUNKS. . .THTS SHOWS NEGLIGENCE ON BEHALF OF MCF DEFENDANTS AND THE MOO
DEFENDANTS SY KNOWINGLY ANO WILLINGLY FORCING PRISONERS TO MAKE me i

DANGEROUS ASCENT.

THE SAFETY FOR THE PRISONERS ON THE TOP BUNK IS COMPROMISED -

AND TS IN DIRECT CONTRAST Ti) THE MDUC's OBLIGATION TO KEEP AWD MAINTAIN
A SAFE AND HEALTHY LIVING ENVIRONMENT, FREE FROM WARM AND INJURY. THIS
MEANS THAT LADDERS PLACED ON BUNKS IS THE ONLY AND PROPER WAY TO KEEP
AND ASSURE PRISONERS ASCENTS ARE SAFE, WITHOUT THESE LADDERS, IT CREATES
A HAZARD FOR THE PRISONERS RY FORCING THEM TO ASCEND BV WAY OF A WOBBLY
PLASTIC CHAIR AND AS DESK THAT MOVES AND TNE TENDENCY TO TIP OVER WHEN
STOOD ON..

PLACE? ON THE TOP BUNK AND SUBJECTED TO THTS DANGEROUS ASCENT HAVE ALSO
SHOWN NEGLIGENCE BY MCF/STAFF. AGE, WEALTH, TYPE OF MEDICATION, WETGNT
ANG WEIGHT AND THE ABILITY TO MAKE THIS DANGEROUS ASCENT SHOULD BE
CONSTOERED, ver, IT Is OFTEN IGNORED.

ANY AND ALL MEDIGAL STAFF WAVE AW OBLIGATION TO ASSURE A
PRISONERS WEALTN AND SAFETY TS NOT IW JEOPARDY. TWE DETERMINATION OR
ASSESSMENT BY MEDICAL STAFF AS TO (HO TS ABLE OR SHOULD MAKE THIS
DANGEROUS ASCENT —S OFTEN DONE GY "“STGNT™ AND NOT “TAKING IN’

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ALSO, THE VETTING PROCESS TO DETERMINE THOSE’ oWO SHOULD BE

 

 

 
 

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.11 Filed 09/10/21 Page 11 of 21

CONSIDERATION A PRISONERS MEDICAL HISTORY, MEDICATION HE'S TAKING OR WTS
LIMITED ABILITY, WITHOUT THESE LADDERS A PERSON WITH CERTAIN sEDTCAL
MEEDS THAT WOULD IN FACT HINDER OR LIWIT HTS OR HERS MOGILITY BUT NOT
LIMITED TO THOSE PRISONERS SHOULN BE RE SUBJECTED TO ASCENT OR PLACED IW.
on FORCED TO PUT THETR OWN LIVES, WEALTH AND SAFETY IN JEOPARDY
KNOWINGLY WITHOUT THESE THESE LADDERS.

MCF AND THE MDOC ARE KNOWINGLY AND WILLFULLY PLACING
PRISONERS IN HARMS WAY, DISREGARDING THETR SAFETY, WEALTH TWETR WELL-
BEING, FREE FROM WARM, UNTIL THE LADDERS. ARE ADDED, THE PLAINTIFF AND
PRISONERS AT WCF ARE FORCED TO MAKE THIS DANGEROUS ASCENT WILL CONTINUE
TO GE PLACTNG THEIR LIVES, WEALTM ANO SAFETY IN JEOPARDY.
TOVALITY ARGUMENTS:
PETITIONER ARRIVED AT WCF ON 11/19/20 FORM RGEC RECEPTION AND GUIDANCE

CENTER WITH A BOTTOM BUWK DETAIL THAT WAS ISSUED BY DR. BOOMERSHINE.

UPON ARRIVAL, 1 SAW THE NURSING STAFF WHO IS EMPLOVED BY CORTIOW.
CORTZON IS THE WEALTH CARE PROVIDER CONTRACTED BY THE MICHIGAN DEP'T OF
OCRRECTIONS." A COPY OF MV "BOTTOM GUNK” DETATL WAS GTVEN TO ME, AND THE |
NURSING STAFF TOLD we THAT SINCE T AM UNDER "CNRONTC CARE” STATUS BY |
HEALTH CARE, T WOULD SE SEEING THE DOCTOR IN THE VERY NEAR FUTURE. T BAS
ASSTONED A "ROTTOM BUNK” IN UNIT 4-CELL 121-8 (8 REFERS TO BOTTOM BUNK).

ON 1f-4-19, T AS MOVED TO THE TOP BUNK OF CELL f2l-atA
REFERS TO TWE TOP BUNK). I ASKED WHY T WAS BETNG MOVED WHEN T WAD A ,
"KOTTOM BUNK? DETATLY T WAS TOLD THEY NEEDED MY BUNK FOR A PRISONER WITH |
HEALTH ISSUES! T TWEN SAW DR. ASHE ON SEVERAL OCCASIONS AND EXPLAINED TO. |
HIM THE PROBLEMS T WAS WAVING WITH THE ASCENT TO AND FROM THE TOP BLINK,
NE DENTED ME A BOTTOM BUNK DETAIL....1WES IS A DENTAL OF ANOTHER DOCTORS
ISSUANCE OF _IT EWEN OnTW THE Doctor As To
ME ISSUED IT) AMD THTS TS EVEN WITH MY SERTOUS MEDICAL PROBLEMS T HAVE
AND THE MEDICATION T TAKE.

T BROUGHT THE ISSWE UP DURING A WARDEN'S FORUM MEETING WITH

 

ADVISING THEM THAT T WAD TO CLIMS UP AND DOWN FROM THE TOP BUNK ay Way
OF A WOBBLY PLASTIC roe he A DESK T MOVES wd HAS A POTENTIAL TO

Dhesee eed
TIP over wen srepren on’ Wat paesen oveR, tet tadders

ON 7-10-20, 1, WAS STEPPING OFF THE a ae THE DESK WHEN
THE DESK TIPPED OVER ON WE, 1 TWEN FELL, NTTTING THE DESK, THE CHATR,

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TWEN THE FLOOR,

THE INJURTES SUSTAINED WERE SO SEVERE THAT PLAINTIFF was
TAKEN TO THE EMERGENCY ROOM. |

AFTER BEING SHEN FOR THESE EXTENSIVE AND SERTOUS INJURIES,
THE PLAINTIFF WAS BROUGHT BACK TO THE MUSKEGON CORRECTIONAL FACTLITY
UNABLE TO WALK ON HIS OWN AND THE PLAINTIFF WAS GIVEN CRUTCHES, AGATN
EVALUATED...7WE PLATNTIFF WAS THEN PLACED ON CALLOUT (SCHEOULED
APPOINTMENT) TO BE SEEN BY WEALTWCARE DAELY TO CHANGE TNE ORESSING IN
MIS BUTTOCKS THAT "SPLIT UPON FROM THE FALL” CAUSED BY NOT WAVING 4
LADDER TO CLIMB ON AND AFTER NAVING HAD MY MEDICAL DETATL TAKEN FROM ME
BY DEFENDANT ASHE. =

THE PLAINTIFF WAS AGAIN DENTED A BOTTOM BUNK DETATL WHILE ON
CRUTCHES.

PLAINTIFF WAS SEEN BY HEALTH CARE DATLY AND WAS NEVER GIVEN A

BOTTOM GUMK FOR THE INJURTES AND STILL, EVERVDAY HAD MY TNJURTES PRETTY
MUCH LAUGHED AT AND TWE REASON REING WAS THE DEFENDANTS REMOVED THE
DETAIL FROM THE PLAINTIFF ONLY TO CAUSE WIS INJURIES AND FOR NO OTHER
REASON EXCEPT THIS WAY,
PRISON COUNSELOR RUSSELL LOOMTS (PC) CALLEP WEALTW SERVICES

SEVERAL TIMES REQUESTING A BOTTOM BUNK FOR TWE PLAINTIFF, WHICH WAS.

STILL DENTED, ONE OF THETR OWN CO-WORKERS SAW THE NEED FOR IT AND VET, A
DOCTOR WHO SAW A NEED FOR TT AND TSSUEP IT WAU IT TAKEN BY A DOCTOR WHO
O10 WOT EVEN AWD WAS NOT EVEN CERTIFIED TO RENOVE IT OR CERTIFIED TO
EVEN MAKE A REASONANLE EVALUATION, ANO IT WAS STILL OENTED. T MAD
CONTINUED TO MAKE THIS DANGEROUS ASCENT EVEN WITW TWE INJURTES 1 HAS
STTLL PLACING MY LIFE AND WEALTH IN JEOPARDY AND THEN, AFTER ALMOST 49
MONTHS AFTER WAVING IT TAKEN FROM WE, I WAS FINALLY GIVEN A ROTTOM BUNK

DETATL ON &=8-20 WEN I MOVED TO CELL 124m, ANP ISSUED A BOTTOM UIINK

DETATL. .

ON SEVERAL OCCASIONS, AFTER THTS, T WAS AGAIN MOVED TO 4 "TOP
BUNK’-~IN 3 WNIT CELL 835A. THEN ON 2-29-20 4 UNIT 266A....WNERE I
REMAIN TODAY....0N SEVERAL OCCASIONS, THE DEFENDANT BROUGHT THE ISSUE OF
WOW DANGEROUS TWE DESCENT IS FO THE PLAINTIFF DURING THE WARDENS FORUM,
WHERE DEFENDANTS SNERRY L. GURT, DEPUTY WARDEN STEWARD, AND ADW 0.
MILLER, VET, THE ISSUE WAS NEVER RESOLVED, EVEN AFTER SEEING THE FULL
EXTENT OF MV INJURIES, TWETR ANSWER WAS THERE WAS NO MONEY TO pur

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case 1:21-cv- 00790-. JMB- SJB ECE No. 1, PagelD. 13 Filed 09/10/21 Page 13 of 21

LADDERS Gu THE BIINKS"--ON A BUDGET OF OVER #2 BILLIONS DOLLARS (WICH THE
DEFENDANTS GET EVER VEAR FOR THE COST AND CARE OF TWE PLAINTIFF AND
OTHER PRISONERS, AND THIS SHOWS THE NEGLIGENCE OF THE DEFENDANTS AT MCG
AND THE DEPARTMENT OF GURRECTIONS AS A WHOLE.

THE ISSUE OF OVERCROWDING . WAS DONE AND TO ALLEVTATE
OVERCROWDING TN THE MPOC, EXTRA GUNKS WERE PLACED IN THE CELLS, VeT,
SAFETY FOR THE PRISONER ON THE TOP SUNK WAS TONORED BY NOT PUTTING
LADDERS ON THE BUNKS, ALTHOUGH OVERCROWDING TS NOT CONSTDERED
UNCONSTITUTIONAL ON IT;S OWN, A PRISONER CANNOT BE DEPRIVED OF HIS BASIC
HUM NEEDS, SUCH AS FOOD SAFETY AND SANTTATION--S8E FRENCH V. OWENS

TA7F.20 1250 (77H CIRCUIT 1985--TOUSSAINT V. WOCKEY, 722 F.29 1490(9TH

creurT 1944).
THE SAFETY FOR PRISONERS CANNOT BE COMPROMISED TO ALLEVIATE —

OVERCROWDING...ALSO SEE ¢TWE STN AMEMOMENT "TOTALITY OF CONDITIONS.”
WICH STATES TWAT "EVEN THOUGH, CERTAIN CONDITIONS AREN'T
UNCONSTITUTIONAL ON THETR OWN, THEY ADD UP TO. CREATE AN OVERALL EFFECT
THAT WAKES TT UNCONSTTTUTIOWAL PALMER WV. JOHNSON, 195 F.3D. 556 (5TH
CIRCUIT 1999). ° o.oo
Tee AS SUCH, THE DEFENDANTS ACTIONS THEMSELVES SHOW DELTBERATE
INDIFFERENCE TO THE PLAINTIFFS PRISON STATUS, HEALTH CARE AND SAFETY...
THIS SHOWS THAT THE DEFENDANTS WERE BEING DELIBERATELY
INDIFFERENT TO THIS PLAINTIFFS NEEDS AND THE CASE OF FATLING TO WAVE THE
LADDERS IN TWE PLATHTIFFS CELL OR ANY OTHER PRISONERS CELL, CLEARLY
MEETS THE DEFINITION OF DELIGERATE INDIFFERENCE.
DELIDEWATE INDIFFEREMCE STANDARD: THE STAND FOR DELIBERATE INDIFFERENCE
IN MEDICAL CARE CASES 1S THE SAME TWO-PART STANDARD (OBJECTIVE AND
SURJECTIVE) WORD IN CASES CWALLENGING CONDITIONS OF CONFINEMENT IN
PRISON, EXPLAINED IN PART @ OF THIS SECTION....TO PROVE DELIBERATE
INDIFFERENCE, VOU MUST SHOW THAT 91) PRESON OFFICIALS KNEW ABOUT THE
SERTOUS MEDICAL WEEOS, ANU (f), THE PRISON OFFICIALS FAILED TO RESPOND
REASONABLY AND RESOLVE IT REASONABLY. ;
PRISON OFFICIALS CLEARLY KNEW ABOUT IT AND IW FACT, Tonk

ACTIONS TO ENSURE THE PLATNTIFF WAS EVEN MORE SUSCEPTTRLE TO INJURTES,
RY REMOVING A MEDICAL DETATL. —

 

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.14 Filed 09/10/21 Page 14 of 21

IT IS EVEN MORE SO INVOLVED BY THE DEFENDANTS JOINT ACTIONS
OF INTENTIONALLY FORCING THE PLAINTIFF AND OTHER PRISONERS TO GREAK THE
RULES WHERE THEY ORDER THE PRISONERS TO MISUSE STATE PROPERTY.....IT TS
DANGEROUS AND AGAINST THE RULES TO STAND ON THE CHATRS IW THE DAVROOM
AND TV ROOM, WAVY ISN'T IT MORE DANGEROUS TO STAND ON TWEM IN THE
CELLST? :
THE POTENTIAL FOR TNJURY FROM FALLING TS BVEN GREATER AND THE
PERMANENT INJURY CAUSED BY USING PROPERTY THAT IS NOT FOR IT'S INTENDED
PURPOSE TS EVEN MORE SERTOUS BECAUSE PRISONERS ARE USING CHAIRS AND
DESKS FOR USE OTNER THEN TT IS OR WAS INTENDED AND, AS SUCH, IF A
PRISONER WERE TO MISUSE STATE PROPERTY FOR OTHER TWEN ITS INTENDED
PURPOSES, TWE PRISONER WILL BE ISSUED A MAJOR MISCONDUCT REPORT FOR
USING SATD CHATRS OR DESKS, AND VET, EVEN WHILE THIS IS A RUE, IT IS
BEING FORCED UPON THE PLAINTIFF WHO IS INJURED TO USE IT WHEN IN FACT,
THE PLATNTIFF CANNOT ANO SHOULD NOT BE USING IT AND, ACTUALLY ONEN THE
PLAINTIFF PIP USE IT POR CLIMBING ON HTS BUNK, HE STILL FELL AND WAS

INJURED AND, AS A RESULT, SUFFERED PERMANENT INJURY BECAUSE OF THE
DEFENDANTS FORCING THE PLAINTIFF TO MISUSE STATE PROPERTY FOR REASONS” —

THAT PLAINTIFF SHOULD NOT GEING USING IT FOR, AND, THE DEFENDANT JOINTLY

/

HAVE OPERATED A CYCLE OR CIVIL RESPONSTBTLITY CRIMINAL ENTERPRISE WHICH

REQUIRES THAT PRISONERS USE CHAIRS, AND STATE FURNITURE FOR CLINBING ON

A TOP BUNK, CONTRARY TO STATE LAWS GOVERNING MAJOR MISCONDUCT. RULES —

UNDER MCL 791.250-255, AND WAS IN FACT KNOWINGLY FORCED A PRISONER TO BE

SUBJECTED TO USING FURNITURE WHEREAS A LADDER WOULD CORRECT THE PROBLEM,

AND, INSTEAD OF CHOOSING TO PLACE LADDERS IN THE BUNKS, THE DEFENDANTS

HAVE JOINTLY WORKED TOGETWER TO INSTEAD, INFLICT UNNECESSARY HARM UPON
THE PLAINTIFF AND OTHER PRTSONERS FoR THE SOLE PURPOSE OF SAVING MONEY

 

AND NOT PUTTING THE MONEY TAT THE PLAINTIFES SAFETY, CONTRARY TO STATE
AND FEDERAL LAWS.

CONCLUSTOM: THE DEFENDANTS NAVE INTENTIONALLY, WILLFULLY,
PTRECTLY, WILLINGLY, OPENLY, DELIBERATELY CAUSED THE PLAINTIFF TO SUFFER
PERMANENT PHYSICAL INJURIES BY NOF WAVING LADDERS FOR THE
PLATNTIFE/PRISONERS, BY NOT HONORING PREVIOUS BOTTOM BUNK DETATLS AND
REMOVING THEM FOR NO LEGAL REASON WNATSOEVER, BY NOT PROVIDING TWE
PROPER CARE AND COMMUNICATION THAT THE PLATNTIPF/PRISONERS ARE ENTITLED

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.15 Filed 09/10/21 Page 15 of 21

TO, BY NOT UPHOLDING THE STW ANENOMENTS PROWTBITION AGAINST CRUEL AND
UNUSUAL PUNISHMENT, (GY NOT ENSURING THAT TWE PLAINTIFF REMAINED ON A
BOTTOM BUNK, BY NOT FORCING THE DEFENDANT TO ASCEND TO A TOP GUINK ON
WOBELY FURNITURE WHICH 18 NOT MADE FOR SUCH ASCENDING, BY NOT USING THE
TAXPAVERS DOLLARS THAT ARE THERE TO LEGALLY ENSURE THE SAFETY OF
PLATNTIFF/PRISONERS, BV NOT FOLLOWING AND ADHERING TO THE POLICY
DIRECTIVE AND OPERATING PROCEDURES OF 03.04.100 RULES ON SAFETY AND
LIVING CONDITIONS FOR THOSE MEDICALLY AND PHYSICALLY IMPAIRED, GY NOT
HAVING A PROPER RESPONDENT TO THE GRIEVANCE PROCESS TO ADDRESS THE FULL
IWPACT OF THE ISSUES RATSED QY THE PLATINTIFF/PRISONER, 6Y NOT WAVING
MEASURES IN PLACE THAT WILL ENSURE THAT A PRISONER/PLAINTIFF WHO ALREADY
WAS SERTOUS MEDTCAL INJURTES YS NOT PLACED IN THE POSITION TO WHERE HTS
ACTUAL BUTTOCK 1S CRACKED OPEN FROM AN INJURY SUSTAINED BECAUSE OF THE
LACK OF HAVING FULL MEASURES IN PLACE TO PROTECT A PRISONER FROU
INJURING RTMSELF, AND MOST IMPORTANTLY, THE DEFENDANTS CHOSE MONEY OVER
THAT OF THE PRISONERS SAFETY AND WEALT¥, AND THAT ITSELF VTOLATES THE

PROTECTIONS RESULTING IN MATERIAL PREJUDICE TO THE PLAINTIFF AND A

DEVIATION AND DEPARTURE FROM POLICY DIRECTIVES, STATE LAW, FEDERAL LAW

AND THE STATE AND FEDERAL CONSTITUTIONS AND THE DEVIATION WAS VIOLATED |

THE PLAINTIFFS RIGHTS CONTINUALLY AND ACTIVELY ON A DATLY BASIS BECAUSE

OF THE PLAINTIFFS CONTINUED STATUS OF POSSTBLY BEING FORCED TO GO TO A |

TOP BUNK AGAIN WITMOUT A LADDER AND PERMANENT INJURTES CAUSED BY THE —

HEFENDANTS, REQUIRTMG THIS COURTS ACTTON ON THE CASE AT BAR. |

: Defendouwts were eK alg unicher the coler oF State (ans.

|) MONETARY DEMAND: PLAINTIFF ASKS THIS COURT TO ENTER AN AMOUNT OF
$§00,000.00 JUDGEMENT IN FAVOR OF THE PLAINTIFF.

i hy PLAINTIFFS CIVIL RIGHTS AND CONSTITUTIONAL RIGHTS AND CONSTITUTIONAL
eo

() RELIEF soucur: UWEREFORE, PLAINTIFF PRAVYS THIS COURT WILL ALLOW THIS
MATTER TO PROCEED TO A JURY TRIAL AND GRANT ANY FURTHER RELIEF THIS
COURT DEEM NECESSARY AGAINST TWE DEFEWPANTS IN THIS MATTER.

GARE P LT \/ (alle,

 

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Case 1:21-cy-00790-JMB-SJ ECF No.1, PagelD.16 Filed 09/10/21 Page 16 of 21

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pe Po sttutenal Rights under th, thuor of "Deliberate
Fi tenaniee ” ty my Serrous medical needs, (iolehoak

of th, 8% Mindnckioscat tp thy TS: conshhhen )
4) ZL preg this Honorable court Pind th Nebenclaalt vrolaked
cant a f thy Aymettean 5 with disabilitve s At;
5) Awerd attorney fee's and Costs related to this
[tga hin , 7
c) ord ef ths Nelrabaats fe es provide
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ie caeow uncles Pene/; at ferpury tha? Ary fil
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“WR? PHILLIP RICHARD TURNER, #171787,
PLAINTIFF,

CASE NO: 202T-

. Wich as Dept. pf Corceskrons
HETDE WASHINGFON, MOC DIRECTOR,

SHERRY L. BURT, WARDEN HON.
DARRELL M. STEWARD, DEPUTY WARDEN,
DANTEL MILLER, ACTING DEPUTY WARDEN,

 

 

CORTZON MEDICAL SERVICES, LLC, INC,,ENTITY, COMPANY,
SRD APL OEES AQREELOND ,
DR. ASCHE, HEALTH SERVICES EMPLOYEE,
MRS. WILKINSON, WEALTH UNTT MANAGER (HUM)
ANDERSON, NURSING SUPERVISOR,

DEFENDANTS, ET AL,

CAPACITY OF SUIT BROUGHT
AGAINST EAC WAMED DEFENDANT

#1. HETDE WASHINGTON, DIRECTOR, YOU EITHER ARE, OR WERE AN EMPLOYEE OF
THE MICHIGAN DEPARTMENT OF CORRECTIONS.

2. SHERRY L. BURT, WARDEN, VOU EITWER ARE, OR WERE EMPLOVED AT THE
MUSKEGON CORRECTIONAL FACTLITY.

3. DARRELL STEWARD, DEPUTV WARDER, VOU EITWER ARE OR WERE EMPLOYED AT
THE MUSKEGON CORRECTIONAL FACILITY.

4, DANTEL MILLER, ASSISTANT DEPUTY WARDEN, VOU EITHER ARE, OR WERE
EMPLOYED AT THE MUSKEGON CORRECTIONAL FACILITY.

5. CORTZON HEATH CARE SERVICES PROVIDER, LLC, COMPANY, WHOLE, PRIVATE,
AND EMPLOYEES, YOUR AGENCY EITHER TS, OR WAS CONTRACTED TO PROVIDE
HEALTH CARE MEDICAL SERVICES TO THE PLAINTIFF AND TO THE PRISON
POPULATION HERE AT MUSKEGON CORRECTIONAL FACILITY.

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"Case 1:21-cv-00790-JMB-SJB ECF No.1, Pa

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OR, ASCHE, VOU EITHER ARE OR WERE IV PART EMPLOYED IN YOUR ABILITY To
ENSURE THAT ALL LEVELS OF HEALTH AND SAFETY OF THE PLAINTIFF AND INWATES
OR WERE RESPONSIBLE FOR ANY AND ALL BUPLOVEES OR STAFF CHARGED WITH
ASSURING THE MEDICAL SERVICES ARE DONE AND FOLLOWED TO MAINTATN
HEALTH/SAFETY CONDITIONS FOR PRISONERS AND PLAINTIFF.

6. MRS, WILKINSON, NURSE, YOU EITHER WERE OR ARE RESPONSTELE FOR ALL.

INMATES AND ASSURING THEY HAVE SAFE MEDTCAL AND LIVING CONDITIONS IN
ACCORDANCE WITH DETERWEVING WEALTH CARE NEEDS.

ANDERSON, YOU EITHER ARE OR WERE RESPONSIBLE IN PART OR WHOLE IN
ENSURING THAT ALL INMATES HEALTH CARE NEEDS ARE WET AND TO ENSURE THAT
ALL PROVISIONS GF HEALTH CARE ARE MET WHOLLY AND COMPLETELY.

7) wi chigant Departtentt, a€ GorrecUonls

THE DEFROWANTS, IN TWETR INDIVIDUAL AND OFFICIAL CAPACITY ARE WEREEV

SUED IN THEIR THOTUTDUAL AND OFFICTAL CAPACITY BECAUSE THEY WERE ACTING -

TN THETR INDIVIDUAL AND OFFICIAL CAPACITY DURING THE ENTIRE PHASE OF THE
PROCEEDINGS OUTLINED IN TTS COMPLATAT.

ALL OF TWE DEFENDANTS HAD A COMPLETE RESPONSIBILITY WHILE BEING TN ©

CHARGE AT THE ADMINISTRATIVE LEVEL OF THETR POSITIONS AS EMPLOVEES oF
THE DEPARTMENT OF CORRECTIONS EMPLOVED AND ASSIGNED TO TNE MUSKEGON
CORRECTIONAL FACILITY AND, THE EMPLOVEES OF CORTZON MEDICAL HEALTH

SERVICES PROVIDER AND IT'S INSURER THAT ARE ASSIGNED TO’ work AT THE

MUSKEGON CORRECTIONAL FACTLITY, WERE ALL IN WHOLE AND IN PART CHARGED
WITH ENSURING THAT THE ENTIRE INMATE POPULATION, INCLUOING THE PLAINTIFF
ARE CWARGED WITH AND ENSURTNG THAT ALL INMATES WEALTH CARE NEEDS ARE MET
AND KEPT AND THAT BACH INMATE IS PROVIDED WITW ALL HIS MEVTCAL NEEDS AS
STATE AND FEDERAL LAW MANDATE AND, MOST IMPORTANTLY, AS PART OF THE
TAXPAVERS DOLLARS ARE PROVIDED TO THE DEFENDANTS MOOC/MCF AND CONTRACTED
WITW SATO TANOOLLARS THROUIGN CORTZON WEALTH SERVICES PROVIDERS ARE THERE
TO ENSURE THAT ANY PRISONER WITH MEVICAL NEEDS AND MEOICAL PROELEMS ARE
IN FACT MET AND KEPT WEALTHY AND IF ANYTHING MEDICALLY occuR'’s TO THE
PRISONER, THEN IT IS THE JOB OF ALL THE DEFENDANTS JOINTLY, WHOLLY,
PARTIALLY, INDIVIDUALLY, AND OFFICIALLY TO ENSURE THAT ALL SAFETY

ON AMD CARE NEEDS ARE MET AND AMY

THAT 1S A COMPLETE DEPRIVATION AND FA PERFORM I

 

 

 

gelD.18 Filed 09/10/21 Page 18 of 21

 
 

Plse 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.19 Filed 09/10/21 Page 19 of 21

" gpFICE AND_IT REOUTRES THIS COURT TO ENTER AN ORDER OF JUDGEMENT AGAINST

EACH NAMED PARTY OR, TO A THE MATTER TO PROCEED TO A Jury TRI

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Case 1:21-cv-00790-JMB-SJB ECF No.1, PagelD.20 Filed 09/10/21 Page 20 of 21

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(s, Robert Cotten Correctional Faerli' |

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